     Case 1:25-cv-03050-ENV-CLP                      Document 2          Filed 06/03/25         Page 1 of 4 PageID #: 29


    AO 440 (Rev. 06/12) Summons in a Civil Action


                                          UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Eastern District of New York


                  GERARDO ANTONIO GUTIERREZ,                         )
                                                                     )
                                                                     )
                                                                     )
                               Plaintiff(s)                          )
                                    V.
                                                                     )       Civil Action No.    25-cv-3050
                                                                     )
      RB MAINTENANCE LLC, RBM MAINTENANCE                            )
       LLC, RBM MAINTENANCE D/B/A CARTEL,                            )
     TOYOTA OF BAYRIDGE, LLC D/B/A TOYOTA OF                         )
    BAY RIDGE BROOKLYN, FERNANDO BARRIOS,IN                          )
                              Defendant(s)                           )

                                                    SUMMONS IN A CIVIL ACTION

   To: (Defendant's name and address) RB MAINTENANCE LLC, RBM MAINTENANCE LLC, RBM MAINTENANCE D/B/A
                                      CARTEL, TOYOTA OF BAYRIDGE, LLC D/B/A TOYOTA OF BAY RIDGE
                                      BROOKLYN, FERNANDO BARRIOS, INDIVIDUALLY, AND ROXANNA BARRIOS
                                      INDIVIDUALLY.
                                      SEE ATTACHED RIDER FOR ADDRESSSES OF ALL DEFENDANTS.



               A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
  whose name and address are: Elana T. Henderson, Esq.
                                   Franklin, Gringer & Cohen, P.C.
                                   666 Old Country Road, Suite 202
                                  Garden City, New York 11530



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.

                                                                               BRENNA B. MAHONEY
                                                                              CLERK OF COURT

                 6/3/2025
Date: - - - - - - - - - -
                                                                                         Signature o f Clerk or Deputy Clerk
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  Civil Action No.

                                                             PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (/))

            This summons for (name o f individual and title, i f any)
 was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                 on (date)                           ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
          ------------------
           on (date)                               ' and mailed a copy to the individual's last known address; or
                       ---------


           0 I served the summons on (name o f individual)                                                                     , who is
            designated by law to accept service of process on behalf of (name o f organization)
                                                                                 on (date)                           ; or

           0 I returned the summons unexecuted because                                                                             ; or

           0 Other (specify):




          My fees are$                             for travel and $                  for services, for a total of$          0.00


          I declare under penalty of perjury that this information is true.



Date:
                                                                                             Server's signature



                                                                                        Printed name and title




                                                                                             Server's address


Additional information regarding attempted service, etc:
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                                         RIDER TO SUMMONS
                               Civil Case No.: ____________________
                                    FULL COMPLAINT CAPTION
 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – –X
 GERARDO ANTONIO GUTIERREZ,                                             Index No.


                            Plaintiff,


                        -against-                                         COMPLAINT
 RB MAINTENANCE LLC, RBM MAINTENANCE LLC,
 RBM MAINTENANCE D/B/A CARTEL, TOYOTA OF
                                                                          JURY TRIAL
 BAYRIDGE, LLC D/B/A TOYOTA OF BAY RIDGE
 BROOKLYN, FERNANDO BARRIOS, INDIVIDUALLY,                                DEMANDED
 AND ROXANA BARRIOS, INDIVIDUALLY.

 – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – –X




 Via Personal Service
 RB Maintenance LLC
 1216 Broadway, Suite 62
 New York, New York 10001

 RBM Maintenance LLC
 1216 Broadway, Suite 62
 New York, New York 10001

 RBM Maintenance d/b/a Cartel
 1216 Broadway, Suite 62
 New York, New York 10001

 Toyota of Bayridge, LLC d/b/a Toyota of Bay Ridge Brooklyn
 6401 6th Avenue
 Brooklyn, New York 11220
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 Fernando Barrios
 68 PEQUANNOCK ST FL 2, DOVER, NJ 07801-3928 | MORRIS COUNTY, UNITED STATES


 Roxana Barrios
 15 DAVID ST, DOVER, NJ 07801-2230 | MORRIS COUNTY, UNITED STATES
